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                                                                                                    USDC - DVT
                                                                                                    5:21-cv-7
                                                                STATE 0F VERMONT

                         SUPERIOR COURT                                                 CIVIL DIVISION
                         CHITTENDEN UNIT                                                Docket No. 1047-1 1-19 Cncv

                                                                                               VERMONT                    COURT
                                                                                                    '        SUfEEDHIOR
                                                                                                               Fl                 V




                         WENDYL. KALANGIas,
                                       ‘
                                                          Plaintiff                             t
                                                                                                          SEP   1   4 2020
                                  V.
                                                                                               CHITTENDEN UNIT
                         GOPICHAND VALLABHANENI and
                         COMMUNITY HEALTH CENTERS OF BURLINGTON (CHCB),
                     '
                                                          Defendants

                                                            NOTICE 0F APPEARANCE
                              I



                                  .Please enter the appearance Of Peter B. JOslin, Esq. of the rm       of Theriault & Joslin, PC

                         on behalf of Defendants Gopichand Vallabhanen        (GV) and Community Health Centers of

                         Burlington (CHCB).

                                                             DEFENDANTS’ ANSWER

                                  NOW COME Defendants, GV and CHCB, by and through their attorneys, Theriault &

                         Joslin, PC, and Answer Plaintiff’s Complaint as follows:


                         1.       Admitted upon information and belief but subject to proof.

                         2.       Generally admitted as stated.

                         3.       Admitted.

                         4.       Non-traversable or denied for lack of knowledge as appropriate.

                         5.       Non-traversable as stating a legal conclusion or denied as appropriate.

                         6.       Non-traversable and no answer is required.

                         7.       Admitted.

                         8.       Non—traversable as stating a legal conclusion.


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Montpelier, VT 05602
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                      9.       ‘Non-traVersable as stating a legal conclusion or denied as appropriate.

                      10.       Non-traversable as stating a legal conclusion or denied as appropriate.

                      11.       Denied.

                      12.       Denied.

                      13. 1)   - 3).   Denied.

                      14.       Denied or denied for lack of knowledge as appropriate.

                      15.       No paragraph “1 5.”

                      16.       Non-traversable.




                                                           AFFIRMATIVE DEFENSES
                                1.     Failure to state claims upon which relief can be granted.

                                2.     Lack of subject matter jurisdiction.

                                3.     Lack of personal jurisdiction.

                                4.     Comparative negligence so as to reduce or bar plaintiff’s right of recovery.

                                5.     Consent to dental care as may be supported by the facts.

                                6.     Assumption of the risk as may be supported by the facts.

                                7.     Efcient     intervening cause as may be supported by the facts.

                                8.     Defendants are agents of a FQHC and                       of   claim rests in
                                                                           exclusive jurisdiction any
                                       the United States District Court for the District   of Vermont and is subject to

                                       requirements    of the FTCA and   the proper party defendant would be the United

                                       States    of America.




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                            Dated at Montpelier, Vermont this 14‘“ day of September, 2020.



                                                                       THERlAULT & JOSLIN, P.C.
                                                                       Attorney    or      efendants




                                                                               Peter‘B‘.

                      cc:   Michael J. Gannon, Esq.
                                                                                           Joslw.




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